              Case 1:10-cr-00417-AWI Document 376 Filed 03/10/14 Page 1 of 1


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KEVIN P. ROONEY
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:10 CR 00417 AWI

12                                  Plaintiff,           ORDER ON GOVERNMENT’S MOTION TO
                                                         DISMISS REMAING COUNT OF THE
13                           v.                          INDICTMENT
                                                         Fed. R. Crim. P. 48(a)
14   CJRISTOPHER COLEMAN,

15                                  Defendant.

16
            IT IS HEREBY ORDERED that the remaining count of the Indictment, as to Christopher
17
     Coleman, is dismissed in the interest of justice.
18

19

20 IT IS SO ORDERED.

21 Dated: March 9, 2014
                                                  SENIOR DISTRICT JUDGE
22

23

24

25

26
27

28

     Motion to Dismiss, FRCrimP 48(a)                    1
